 Case:18-05288-EAG11 Doc#:198 Filed:05/16/19 Entered:05/16/19 10:40:22      Desc: Main
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1                       IN THE UNITED STATES BANKRUPTCY COURT FOR
                                THE DISTRICT OF PUERTO RICO
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3
     IN RE:                                   CASE NO. 18-05288-EAG11
4     SKYTEC INC                              Chapter 11

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     XX-XXXXXXX
7
                    Debtor(s)                     FILED & ENTERED ON MAY/16/2019
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9
                                          ORDER
10
           Logistic Systems, INC., may appear telephonically at the hearing to be
11
     held on May 17, 2019 at 10:00 AM at the United States Bankruptcy Court, JOSE V
12
     TOLEDO FED BLDG & US COURTHOUSE, 300 RECINTO SUR, 3RD FLOOR COURTROOM 3, SAN
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     JUAN, PUERTO RICO. However, if local counsel is not present, movant will not be
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     permitted to cross-examine any witnesses, or present documentary evidence at
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     the hearing. Please take note that specialized instructions on how telephone
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     appearances are to be conducted in the Ponce Courthouse are provided in the
17
     P.R. LBR 9074-1.
18
           IT IS SO ORDERED.
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           In Ponce, Puerto Rico, this 16 day of May, 2019.
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